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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                     Plaintiff,              )                 8:13CR107
                                             )
       vs.                                   )                 ORDER
                                             )
MICHAEL HUYCK,                               )
                                             )
                     Defendants.             )


       This matter is before the court on defendant Michael Huyck’s (Huyck) motion for an
extension of time to file discovery motions (Filing No. 123). The motion will be granted to
the extent Huyck may file additional discovery or pretrial motions based on discovery
materials supplied to him after November 1, 2013. Any such motions shall be filed within
ten workings days of the delivery of such discovery material to Huyck.


       IT IS SO ORDERED.


       DATED this 4th day of November, 2013.
                                                 BY THE COURT:

                                                 s/ Thomas D. Thalken
                                                 United States Magistrate Judge
